Case 21-40834-drd11          Doc 80     Filed 08/05/21 Entered 08/05/21 14:49:32                 Desc Main
                                       Document     Page 1 of 42

                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MISSOURI


 In re:                                               )   Case No. 21-40834-DRD
                                                      )   Chapter 11
 INTERSTATE UNDERGROUND                               )
 WAREHOUSE and INDUSTRIAL PARK,                       )
 INC.                                                 )
                 Debtor.                              )
                                                      )
                                                      )
                                                      )


            AMENDED APPLICATION OF THE DEBTOR PURSUANT TO
            SECTIONS 327(A) AND 329(A) OF THE BANKRUPTCY CODE,
       BANKRUPTCY RULES 2014(A) AND 2016(B) AND LOCAL BANKRUPTCY
     RULE 2016-3, FOR AN ORDER AUTHORIZING THE DEBTOR TO RETAIN AND
      EMPLOY ARMSTRONG TEASDALE LLP AS RESTRUCTURING COUNSEL
               EFFECTIVE NUNC PRO TUNC TO THE PETITION DATE

          COMES NOW Interstate Underground Warehouse and Industrial Park, Inc. (the “Debtor”

 or “IUW”), and hereby move this Court, pursuant to sections 327(a) and 329(a) of title 11 of the

 United States Code (the “Bankruptcy Code”), Bankruptcy Rules 2014(a) and 2016(b) of the

 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 2016-3 of the Local

 Bankruptcy Rules of the United States Bankruptcy Court for the Western District of Missouri

 (the “Local Bankruptcy Rules”), for an order authorizing Debtor to retain and employ Armstrong

 Teasdale LLP (“Armstrong Teasdale”) as restructuring counsel in this chapter 11 case, effective

 Nunc Pro Tunc to the Petition Date,1 and in support thereof respectfully represent as follows:

                                         Jurisdiction and Venue

                  1.      Since the Petition Date, the Debtor has remained in possession and control

 of its assets.




 1
          Retention Nunc Pro Tunc to the Petition Date is appropriate because Armstrong Teasdale has provided
          services to the Debtor in this chapter 11 case from and after the Petition Date.
Case 21-40834-drd11       Doc 80    Filed 08/05/21 Entered 08/05/21 14:49:32            Desc Main
                                   Document     Page 2 of 42

                2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A).

                                          Background

                3.    The Debtor operates a network of underground storage facilities within a

single location in Kansas City, Missouri. IUW houses approximately 3 million square feet of dry

storage, 250,000 square feet of cooler space, and 500,000 square feet of freezer space for the

storage of a variety of customer goods.

                4.    On July 1, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor is operating its business and

managing its properties as a debtor in possession pursuant to Bankruptcy Code sections 1107(a)

and 1108. No committees have been appointed or designated.

                5.    A comprehensive description of the Debtor’s operations and events leading

to the commencement of these chapter 11 cases is set forth in the Declaration of Leslie Renee

Reeder, (the “First Day Declaration”), filed contemporaneously herewith and incorporated herein

by reference.

                6.    In support of this Application, the Debtor submits (a) the Declaration of

Leslie Reeder (the “Reeder Declaration”), a copy of which is attached hereto as Exhibit A; (b) the

Declaration of Richard W. Engel, Jr., a partner of Armstrong Teasdale (the “Engel Declaration”),

a copy of which is attached hereto as Exhibit B; and (c) Armstrong Teasdale’s Disclosure of

Compensation (the “Disclosure of Compensation”), a copy of which is attached hereto

as Exhibit C.

                                      Retention of Counsel

 Armstrong Teasdale’s Qualifications

                7.    Armstrong Teasdale is well-qualified to serve as the Debtor’s restructuring

counsel in this chapter 11 case. Armstrong Teasdale is one of the leading commercial law firms
                                                 2
Case 21-40834-drd11          Doc 80    Filed 08/05/21 Entered 08/05/21 14:49:32                     Desc Main
                                      Document     Page 3 of 42

in the Midwest and serves a dynamic national and international client base. Armstrong Teasdale

has substantial experience in virtually all aspects of the law that may potentially arise in this

chapter 11 case, including bankruptcy, corporate, employee benefits, finance, labor and

employment, litigation, real estate, and tax.

               8.       Armstrong Teasdale’s restructuring practice group consists of attorneys

practicing in offices in Missouri, Kansas, Colorado, Delaware, New York, Utah, Massachusetts,

and Nevada. Armstrong Teasdale’s restructuring lawyers have played, or are presently playing,

significant roles in a wide array of chapter 11 cases including, but not limited to, those of Peabody

Energy Corporation; Patriot Coal Corp.; Abengoa Bioenergy US Holding, LLC; Abengoa

Bioenergy Biomass of Kansas, LLC; Global Computer Enterprises Inc.; Enviro-Safe

Refrigeration, Inc.; US Fidelis Inc.; Payless ShoeSource, Inc.; Armstrong Energy, Inc. and

Foresight Energy LP.

               9.       Armstrong Teasdale is also familiar with the Debtor’s businesses and

financial affairs and will contribute greatly as restructuring counsel to aid in the efficient

administration of the Debtor’s estate.

 Services to Be Provided by Armstrong Teasdale

               10.      The employment of Armstrong Teasdale as the Debtor’s restructuring

counsel is appropriate and necessary to enable the Debtor to fulfill its duties as debtor and debtor

in possession and to preserve and maximize the value of the Debtor’s estate for all valid

claimholders. The Debtor proposes to retain Armstrong Teasdale for this chapter 11 case on the

terms of this application and the parties’ engagement letter, dated as of October 21, 2020 (the

“Engagement Letter”), a copy of which is attached hereto as Exhibit D.2 The Engagement Letter


 2
        Any references to, or descriptions of, the Engagement Letter herein are qualified by the express terms of
        the Engagement Letter, which shall govern if there is any conflict between the Engagement Letter and the
        description provided herein.


                                                       3
Case 21-40834-drd11          Doc 80    Filed 08/05/21 Entered 08/05/21 14:49:32          Desc Main
                                      Document     Page 4 of 42

describes, among other things: (a) the services that Armstrong Teasdale anticipates performing

for the Debtor and (b) the terms and conditions of Armstrong Teasdale’s proposed engagement by

the Debtor.

              11.     The Debtor anticipates that Armstrong Teasdale will render various legal

services to the Debtor as needed throughout the course of this chapter 11 case. In particular, the

Debtor anticipates that Armstrong Teasdale will perform, among others, the following legal

services:

                       (a)      providing legal advice with respect to the Debtor’s powers and

               duties as debtor-in-possession in the continued operation of its affairs and

               business;

                       (b)      attending meetings and negotiating with representatives of

               creditors and other parties in interest and advising and consulting on the conduct

               of this chapter 11 case, including the legal and administrative requirements of

               operating in chapter 11;

                       (c)      taking necessary action to protect and preserve the Debtor’s estate,

               including the prosecution of actions commenced under the Bankruptcy Code on

               its behalf, and objections to claims filed against the estate;

                       (d)      preparing and prosecuting on behalf of the Debtor’s motions,

               applications, answers, orders, reports and papers necessary to the administration

               of the estate;

                       (e)      advising and assisting the Debtor with respect to restructuring

        alternatives, including preparing and pursuing confirmation of a chapter 11 plan,

        including preparing and seeking approval of a disclosure statement;

                       (f)      appearing in Court and protecting the interests of the Debtor before

               the Court; and
                                                  4
Case 21-40834-drd11            Doc 80    Filed 08/05/21 Entered 08/05/21 14:49:32                      Desc Main
                                        Document     Page 5 of 42

                         (g)      performing all other legal services for the Debtor which may be

                necessary and proper in this case.

               12.       The Debtor requires knowledgeable counsel to render these essential

professional services.      Armstrong Teasdale has substantial expertise in all of these areas.

Accordingly, the Debtor respectfully submits that Armstrong Teasdale is well-qualified to

perform these services and represent the Debtor’s interests in this chapter 11 case.

 Compensation and Fee Applications

               13.       Pursuant to the terms of the Engagement Letter, and subject to the Court’s

approval of this application, Armstrong Teasdale intends to: (a) charge for its legal services on an

hourly basis in accordance with the ordinary and customary hourly rates in effect on the date

services are rendered; and (b) seek reimbursement of actual and necessary out-of-pocket

expenses.3

               14.       Armstrong Teasdale will be compensated at its standard hourly rates, which

are based on the professionals’ level of experience. At present, the standard hourly rates charged

by Armstrong Teasdale for all attorneys range as follows:

                             BILLING CATEGORY                    U.S. RANGE

                                    Partners                     $335 - $775

                                  Of Counsel                     $300 - $575

                                   Associates                    $225 - $405

                                   Paralegals                    $110 - $305

                                  Law Clerks                     $200 - $235



 3
        The hourly rates charged by Armstrong Teasdale professionals differ based on, among other things, the
        professional’s level of experience and the rates normally charged in the specific office in which the
        professional is resident. Armstrong Teasdale does not adjust the billing rates of its professionals based on
        the geographic location of a bankruptcy case or other matter.


                                                        5
Case 21-40834-drd11             Doc 80     Filed 08/05/21 Entered 08/05/21 14:49:32                        Desc Main
                                          Document     Page 6 of 42

                  15.       The names, positions, resident offices and current hourly rates of those

Armstrong Teasdale lawyers currently expected to spend significant time on this chapter 11 case

are attached as Schedule 3 to the Engel Declaration. Armstrong Teasdale’s hourly fees are

comparable to those charged by attorneys of similar experience and expertise for engagements of

the scope and complexity similar to this chapter 11 case.                       Further, Armstrong Teasdale’s

bankruptcy professionals are subject to the same client-driven market forces, scrutiny and

accountability as its professionals in non-bankruptcy engagements. For all of these reasons,

Armstrong Teasdale’s rates are reasonable and favorable to the Debtor’s estate.4

                  16.       Armstrong Teasdale will maintain detailed, contemporaneous time records

in six-minute intervals and apply to the Court for payment of compensation and reimbursement of

expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

Rules, the Local Bankruptcy Rules and any additional procedures that may be established by the

Court in this chapter 11 case.5 Armstrong Teasdale contemplates using the following billing

categories, which substantially conform to those categories set forth at section 8(b) of the United

States Trustee Guidelines:6

        CATEGORY                                                  DESCRIPTION

                              Includes the identification and review of potential assets, including
     Asset Analysis and
                              causes of action belonging to the Debtor’s estate and other non-litigation
         Recovery
                              recoveries.

                              Includes transactions related to the sale, lease, abandonment or other
     Asset Disposition
                              disposition of the Debtor’s assets.


 4
           Like many of its peer law firms, Armstrong Teasdale increases the hourly billing rate of attorneys and
           paraprofessionals periodically in the form of step increases in the ordinary course on the basis of advancing
           seniority and promotion. The step increases do not constitute “rate increases” (as the term is used in the
           United States Trustee Guidelines).
 5
           In applying to the Court for payment of compensation and reimbursement of expenses, Armstrong Teasdale
           will also make reasonable efforts to comply with the United States Trustee Guidelines.
 6
           Armstrong Teasdale may, in its discretion and in consultation with the Debtor, determine to create separate
           sub-billing categories for certain discrete projects undertaken during these chapter 11 cases.


                                                            6
Case 21-40834-drd11      Doc 80    Filed 08/05/21 Entered 08/05/21 14:49:32              Desc Main
                                  Document     Page 7 of 42

     CATEGORY                                         DESCRIPTION

                       Includes (a) contract and lease analysis, (b) matters relating to
  Assumption and
                       assumption, assumption and assignment, rejection or recharacterization
 Rejection of Leases
                       of executory contracts and unexpired leases and (c) the preparation of
   and Contracts
                       Court filings related to the foregoing.

                       Includes the review of potential avoidance actions under sections 544,
  Avoidance Action
                       545, 546, 547, 548 and 549 of the Bankruptcy Code to determine whether
      Analysis
                       such actions are warranted.

                       Includes (a) general case administration services, (b) maintenance of case
 Case Administration   docket and calendar, (c) filing and circulation of papers and (d)
                       preparation and review of other reports, notices and service lists.

     Claims
                       Includes (a) bar date matters, (b) claims objections and related contested
 Administration and
                       matters and (c) other claims administration activities.
    Objections

   Court Hearings      Includes preparation for and attendance at court hearings.

                       Includes (a) preparation of Armstrong Teasdale fee applications and the
                       preparation of monthly invoices, (b) preparation of fee applications for
  Employment and
                       other professionals and (c) preparation and/or prosecution of Court
  Fee Applications
                       filings establishing procedures governing professional retention and
                       compensation.

  Employment and
                       Includes the review of, and objections to, the employment and fee
  Fee Application
                       applications of other professionals.
    Objections

                       Includes (a) negotiation and documentation of debtor in possession
 Financing and Cash
                       financing and post-confirmation financing, (b) cash collateral issues, (c)
     Collateral
                       analysis of loan documents and (d) related services.

                       Includes all litigation and adversary proceedings (i.e., actions initiated by
    Litigation and
                       a complaint in the Bankruptcy Court), such as avoidable transfer
      Adversary
                       litigation, as well as related pre-litigation matters and all other contested
     Proceedings
                       matters that do not fit within another, more specific matter description.

                       Includes preparation for, and attendance at, (a) meetings with official
                       committees appointed in the Debtor’s chapter 11 case that do not fit
                       within another, more specific matter description, (b) the section 341
      Meetings         meeting and committee formation meetings, (c) meetings with the Debtor
                       or the Debtor’s other professionals (including co-counsel), (d) meetings
                       with individual creditors and (e) meetings with all other interested
                       parties.

 Non-Working Travel Includes all non-working travel time.

                                                7
Case 21-40834-drd11          Doc 80    Filed 08/05/21 Entered 08/05/21 14:49:32                  Desc Main
                                      Document     Page 8 of 42

      CATEGORY                                                DESCRIPTION

                           Includes (a) the formulation, negotiation, preparation and promulgation
                           of plans of reorganization, disclosure statements, confirmation orders and
 Plan and Disclosure
                           related orders and corporate documentation, (b) research relating thereto,
      Statement
                           (c) matters related to exclusivity and (d) disbursement and case closing
                           activities.

                           Review and analysis of real estate matters that do not fit within another,
      Real Estate
                           more specific matter description.

                      Includes matters related to (a) the continuation, extension, modification,
                      scope or termination of the automatic stay under section 362 of the
 Relief from Stay and
                      Bankruptcy Code, (b) adequate protection under section 361 of the
 Adequate Protection
                      Bankruptcy Code and (c) the effect of the automatic stay on pending
                      matters.

                           Includes (a) preparation of (i) schedules of assets and liabilities (and
                           amendments thereto), (ii) statements of financial affairs (and
                           amendments thereto), (iii) periodic operating reports and (iv) other
       Reporting
                           accounting or reporting activities and (b) communications with the Office
                           of the United States Trustee for the Western District of Missouri (the
                           “United States Trustee”) not within the scope of other matter numbers.

                           Includes (a) all federal and state income, property, employment, excise
          Tax
                           and other tax matters and (b) the preparation of related tax returns.

                           Write-off of fees and disbursements relating to services rendered in
      Write-Offs
                           Debtor’s chapter 11 case.

                17.       Furthermore, Armstrong Teasdale contemplates using the following

expense categories: (a) copies; (b) outside printing; (c) telephone; (d) facsimile; (e) online

research; (f) delivery services/couriers; (g) postage; (h) out-of-town travel (including

subcategories for transportation, hotel, meals, ground transportation, and other); (i) meals (local);

(j) court fees; (k) subpoena fees; (l) witness fees; (m) deposition transcripts; (n) trial transcripts;

(o)   trial   exhibits;    (p)   litigation   support       vendors;   (q)   experts;   (r)   investigators;

(s) arbitrators/mediators; and (t) other.

                18.       Armstrong Teasdale will consult with the United States Trustee regarding

suggested alterations to these categories and will seek to coordinate the consistent use of these


                                                        8
Case 21-40834-drd11        Doc 80    Filed 08/05/21 Entered 08/05/21 14:49:32             Desc Main
                                    Document     Page 9 of 42

categories among professionals required to file applications for payment of fees and

reimbursement of expenses in these cases. In addition, Armstrong Teasdale understands that

interim and final fee awards are subject to approval by this Court.

 Disclosure Concerning Disinterestedness

               19.     The Engel Declaration, incorporated herein by reference, discloses

Armstrong Teasdale’s connections to the Debtor and parties in interest in this case. In reliance on

the Engel Declaration, and except as set forth therein, the Debtor believes that: (a) Armstrong

Teasdale has no connection with the Debtor, its creditors, the United States Trustee, any person

employed in the office of the United States Trustee or any other party with an actual or potential

interest in this chapter 11 case or their respective attorneys or accountants; (b) Armstrong

Teasdale is not a creditor, equity security holder or insider of the Debtor; (c) none of Armstrong

Teasdale’s lawyers is, or was within two years of the Petition Date, an employee of the Debtor;

and (d) Armstrong Teasdale neither holds nor represents an interest materially adverse to the

Debtor or its estate. Accordingly, the Debtor believes that Armstrong Teasdale is a “disinterested

person,” as defined in section 101(14) of the Bankruptcy Code and as required by section 327(a)

of the Bankruptcy Code.

               20.     In the event that Armstrong Teasdale’s representation of the Debtor in

connection with any matter in this chapter 11 case would result in it becoming adverse to a party

in interest that gives rise to a professional conflict, the Debtor shall retain separate counsel to

represent their interests with respect to such matter against such party. Further, any issue directly

adverse to Citizens Bank & Trust Company will be handled by such separate counsel, including

but not limited to issues involving any guaranty between Debtor and Citizens Bank & Trust

Company.

 Professional Compensation


                                                  9
Case 21-40834-drd11            Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                         Desc Main
                                     Document    Page 10 of 42

                21.       In the eight months prior to the Petition Date, the Debtor provided

Armstrong Teasdale with advance payments totaling $150,000.00 to establish a retainer (the

“Retainer”) for immediate application for professional services to be rendered and services to be

incurred by Armstrong Teasdale LLP for the attempted global, out of court workout, and, if

necessary, the preparation and filing of this chapter 11 case. This past Spring it became more and

more apparent that Chapter 11 relief was necessary for the Debtor. As of the Petition Date, the

balance of the Retainer was approximately $49,122.16.

                                              Basis for Relief Requested

        Under section 327(a) of the Bankruptcy Code, a debtor in possession is authorized to

 employ professional persons “that do not hold or represent an interest adverse to the estate, and

 that are disinterested persons, to represent or assist the [debtor in possession] in carrying out [its]

 duties under [the Bankruptcy Code].” 11 U.S.C. § 327(a).7 Section 1107(b) of the Bankruptcy

 Code elaborates upon sections 101(14) and 327(a) of the Bankruptcy Code in cases under

 chapter 11 of the Bankruptcy Code and provides that “a person is not disqualified for

 employment under section 327 of [the Bankruptcy Code] by a debtor in possession solely

 because of such person’s employment by or representation of the debtor before the

 commencement of the case.” 11 U.S.C. § 1107(b).




 7
        Section 101(14) of the Bankruptcy Code defines the phrase “disinterested person” as:
        a person that –
                 (A)      is not a creditor, an equity security holder, or an insider;
                 (B)       is not and was not, within 2 years before the date of the filing of the
                 petition, a director, officer, or employee of the debtor; and
                 (C)      does not have an interest materially adverse to the interest of the estate
                 or of any class of creditors or equity security holders, by reason of any direct or
                 indirect relationship to, connection with, or interest in, the debtor, or for any
                 other reason.
        11 U.S.C. § 101(14).


                                                          10
Case 21-40834-drd11           Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                           Desc Main
                                    Document    Page 11 of 42

               22.       As required by Section 329(a) of the Bankruptcy Code,8 Bankruptcy Rule

2014(a)9 and Local Bankruptcy Rule 2016-3,10 the above-described facts set forth in the

application and the information in the Exhibits attached hereto set forth: (a) the specific facts

showing the necessity for Armstrong Teasdale’s employment; (b) the reasons for the Debtor’s

selection of Armstrong Teasdale as their counsel in connection with this chapter 11 case; (c) the

professional services proposed to be provided by Armstrong Teasdale; (d) the arrangement

between the Debtor and Armstrong Teasdale with respect to Armstrong Teasdale’s compensation,

including information on retainers and hourly fees and the reasonableness thereof; and (e) to the

best of the Debtor’s knowledge, the extent of Armstrong Teasdale’s connections, if any, to certain

parties in interest in these matters. Accordingly, Armstrong Teasdale’s retention by the Debtor

should be approved.



 8
        Section 329(a) of the Bankruptcy Code provides as follows:
                 Any attorney representing a debtor in a case under this title, or in connection
                 with such a case, whether or not such attorney applies for compensation under
                 this title, shall file with the court a statement of the compensation paid or agreed
                 to be paid, if such payment or agreement was made after one year before the
                 date of the filing of the petition, for services rendered or to be rendered in
                 contemplation of or in connection with the case by such attorney, and the source
                 of such compensation.
        11 U.S.C. § 329(a). This information is set forth in the Engel Declaration attached hereto as Exhibit B.
 9
        Bankruptcy Rule 2014(a) provides that an application seeking the employment of professional persons
        pursuant to section 327 of the Bankruptcy Code:
                 shall state the specific facts showing the necessity for the employment, the name
                 of the person to be employed, the reasons for the selection, the professional
                 services to be rendered, any proposed arrangement for compensation, and, to the
                 best of the applicant's knowledge, all of the person's connections with the
                 debtor, creditors, any other party in interest, their respective attorneys and
                 accountants, the United States trustee, or any person employed in the office of
                 the United States trustee. The application shall be accompanied by a verified
                 statement of the person to be employed setting forth the person's connections
                 with the debtor, creditors, any other party in interest, their respective attorneys
                 and accountants, the United States trustee, or any person employed in the office
                 of the United States trustee.
        Fed. R. Bankr. P. 2014(a).
 10
        Local Bankruptcy Rule 2016-3 contains the requirements for filing applications for compensation in
        chapter 11 and chapter 12 cases.


                                                         11
Case 21-40834-drd11       Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                Desc Main
                                Document    Page 12 of 42

WHEREFORE, the Debtor respectfully request that the Court: (i) enter an order, substantially in

the form submitted to the Court, granting the relief requested herein; and (ii) grant such other and

further relief to the Debtor as the Court may deem just and proper.

 Dated: August 5, 2021                            Respectfully submitted,
        Kansas City, Missouri
                                                  Interstate Underground Warehouse and Industrial
                                                  Park, Inc.
                                                  Debtor in Possession


                                                  /s/ Leslie Reeder
                                                  Name: Leslie Reeder
                                                  Title: Chief Executive Officer




                                                 12
Case 21-40834-drd11     Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                              Document    Page 13 of 42



  Filed by:

  /s/  Pamela Putnum
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  AND

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  Proposed Counsel to the Debtor
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 14 of 42



                                    Exhibit A

                                Reeder Declaration
Case 21-40834-drd11          Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                     Desc Main
                                   Document    Page 15 of 42

                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MISSOURI


 In re:                                               )   Case No. 21-40834-DRD
                                                      )   Chapter 11
 INTERSTATE UNDERGROUND                               )
 WAREHOUSE and INDUSTRIAL PARK,                       )
 INC.                                                 )
                 Debtor.                              )
                                                      )
                                                      )
                                                      )

                               DECLARATION OF LESLIE REEDER

                  I, Leslie Reeder, hereby declare, under penalty of perjury, as follows:

                  1.      I am older than 21 years of age and suffer no legal disability. I am

 competent to make this Declaration.

                 2.      My testimony herein is based upon my personal knowledge, unless stated

otherwise.

                 3.      If called to testify, I could and would testify to the matters stated herein.

                 4.      I make this declaration under 28 U.S.C. § 1746 for all permissible purposes

under applicable rules of evidence and procedure, in support of the Application of the Debtor

Pursuant to Sections 327(a) and 329(a) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and

2016(b) and Local Bankruptcy Rule 2016-3, for an Order Authorizing Debtor to Retain and

Employ Armstrong Teasdale LLP as Restructuring Counsel, Effective Nunc Pro Tunc to the

Petition Date (the “Application”).1

                 5.      Although Armstrong Teasdale professionals assisted in the preparation of

this declaration on my behalf, they did so according to my express instructions and using


 1
          This Declaration is also generally consistent with the Guidelines for Reviewing Applications for
          Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger
          Chapter 11 Cases Effective as of November 1, 2013, issued by the Executive Office for United States
          Trustees (the “United States Trustee Guidelines”).
Case 21-40834-drd11         Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32               Desc Main
                                  Document    Page 16 of 42

information provided by me and my staff specific to the Debtor’s decision to retain Armstrong

Teasdale as counsel in this chapter 11 case.

                6.      I am currently the CEO of the Debtor.

                7.      In my current capacity, I am familiar with all aspects of the Debtor’s

decision to retain and employ Armstrong Teasdale as counsel with respect to this chapter 11 case.

                          The Debtor’s Selection of Armstrong Teasdale

                8.      Armstrong Teasdale is my proposed restructuring counsel. The process

used by the Debtor to review and select their restructuring counsel involved an evaluation of

potential counsels’ expertise in relevant legal practice areas and in similar proceedings in this

District. After evaluating other candidates for counsel, I retained Armstrong Teasdale due to

Armstrong Teasdale’s extensive experience in reorganizations, both out-of-court and under

chapter 11 of the Bankruptcy Code, and in areas of law closely aligned with the goals and

interests in this chapter 11 case.

                9.      Given these facts, I determined that Armstrong Teasdale is well-qualified

to represent the Debtor in connection with this chapter 11 case.

                                          Rate Structure

                10.     Armstrong Teasdale and I agreed that Armstrong Teasdale’s standard fees

would apply to this engagement, except that Richard Engel has agreed to discount his standard

rate by ten (10%) percent. Having previously reviewed invoices from other comparable law firms

and invoices submitted from Armstrong Teasdale, I can verify that the rates being charged by

Armstrong Teasdale in connection with this representation are within the range typically charged

by similar firms.

                11.     I have approved an anticipated budget and staffing plan (the “Budget and

Staffing Plan”) for the first three months of this chapter 11 case, recognizing that in the course of

chapter 11 cases like this, it is possible that there may be a number of unforeseen matters that will
Case 21-40834-drd11        Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32               Desc Main
                                 Document    Page 17 of 42

need to be addressed by the Debtor and Armstrong Teasdale leading to the incurrence of

additional fees and expenses beyond those set forth in the Budget and Staffing Plan. As this

chapter 11 case continues to develop, Armstrong Teasdale and I will work together to revise the

Budget and Staffing Plan as needed. I further recognize that it is their responsibility to monitor

closely the billing practices of my counsel to ensure the fees and expenses paid by the estate

remain consistent with my expectations and the exigencies of the chapter 11 cases.           I will

continue to review the invoices that Armstrong Teasdale regularly submits, and, together with

Armstrong Teasdale, amend the Budget and Staffing Plan periodically as the case develops.

                                         Cost Supervision

                12.     As they did prepetition, the Debtor will continue to closely supervise the

fee and expense reimbursement process. Armstrong Teasdale’s fees and expenses will be subject

to review, comment and objection (if warranted), and court approval pursuant to interim

compensation procedures that provide for the interim allowance and payment of fees and

expenses during the course of this chapter 11 case. It is my understanding that Armstrong

Teasdale’s fees and expenses will be subject to review on a monthly, interim and final basis

during the course of this chapter 11 case by the U.S. Trustee, any official committee and the

Court, as well as by the Debtor.

                 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct.


 Dated: August 5, 2021                             /s/ Leslie Reeder
                                                   Leslie Reeder
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 18 of 42



                                    Exhibit B

                                Engel Declaration
Case 21-40834-drd11          Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                     Desc Main
                                   Document    Page 19 of 42



                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF MISSOURI


 In re:                                               )   Case No. 21-40834-DRD
                                                      )   Chapter 11
 INTERSTATE UNDERGROUND                               )
 WAREHOUSE and INDUSTRIAL PARK,                       )
 INC.                                                 )
                 Debtor.                              )
                                                      )
                                                      )
                                                      )


                         DECLARATION OF RICHARD W. ENGEL, JR.

                  Pursuant to Bankruptcy Rule 2014(a) of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”) and Rule 2016-3 of the Local Rules of Procedure of the

 United States Bankruptcy Court for the Western District of Missouri (the “Local Bankruptcy

 Rules”),1 I, Richard W. Engel, Jr., declare:

                 1.       I am an attorney at law admitted and in good standing to practice in the

State of Missouri, the State of Illinois, the United States District Court for the Eastern District of

Missouri, the United States District Court for the Western District of Missouri, the United States

District Court for the Southern District of Illinois, the United States District Court for the Central

District of Illinois, the United States District Court for the Northern District of Illinois, the Eighth

Circuit Court of Appeals, and the United States Supreme Court.

                 2.      I am a partner of the law firm of Armstrong Teasdale LLP (“Armstrong

Teasdale”) and am duly authorized to make this Declaration on behalf of Armstrong Teasdale. I


 1
          This Declaration is also generally consistent with the Guidelines for Reviewing Applications for
          Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger
          Chapter 11 Cases Effective as of November 1, 2013, issued by the Executive Office for United States
          Trustees (the “United States Trustee Guidelines”).
Case 21-40834-drd11          Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                          Desc Main
                                   Document    Page 20 of 42



make this Declaration in support of the Application of the Debtor Pursuant to Sections 327(a) and

329(a) of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016(b) and Local Bankruptcy

Rule 2016-3, for an Order Authorizing Debtor to Retain and Employ Armstrong Teasdale LLP as

Restructuring Counsel, Effective Nunc Pro Tunc to the Petition Date (the “Application”).2

               3.       The facts set forth in this Declaration are personally known to me and, if

called as a witness, I could and would testify thereto.

                                 Armstrong Teasdale’s Qualifications

               4.       Armstrong Teasdale is well-qualified to serve as the Debtor’s counsel in

this chapter 11 case. Armstrong Teasdale is one of the leading commercial law firms in the

Midwest and serves a dynamic national and international client base. Armstrong Teasdale has

substantial experience in virtually all aspects of the law that may potentially arise in this chapter

11 case, including bankruptcy, environmental, corporate, employee benefits, finance, labor and

employment, litigation, mergers and acquisitions, real estate, securities and tax.

               5.       Armstrong Teasdale’s restructuring practice group consists of attorneys

practicing in offices in Missouri, Kansas, Colorado, Delaware, New York, Utah, Massachusetts

and Nevada. Armstrong Teasdale’s restructuring lawyers have played, or are presently playing,

significant roles in a wide array of chapter 11 cases including, but not limited to, those of Peabody

Energy Corporation; Patriot Coal Corp.; Abengoa Bioenergy US Holding, LLC; Abengoa

Bioenergy Biomass of Kansas, LLC; Global Computer Enterprises Inc.; Enviro-Safe

Refrigeration, Inc.; US Fidelis Inc.; Payless ShoeSource, Inc.; Armstrong Energy, Inc. and

Foresight Energy LP.




 2
        Capitalized terms not otherwise defined herein have the meanings given to them in the Application.
Case 21-40834-drd11           Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32               Desc Main
                                    Document    Page 21 of 42



               6.      Armstrong Teasdale is also familiar with the Debtor’s businesses and

financial affairs and will contribute greatly as restructuring counsel to aid in the efficient

administration of the Debtor’s estate. Armstrong Teasdale’s professionals have become well-

acquainted with the Debtor’s history, business operations, capital and corporate structure and

related matters.    Accordingly, Armstrong Teasdale has developed substantial knowledge

regarding the Debtor that will result in effective and efficient services in this chapter 11 case.

                         Services to Be Provided by Armstrong Teasdale

               7.      The Debtor has requested that Armstrong Teasdale render, to the extent

necessary, the following legal services in connection with this chapter 11 case:

                        (a)      providing legal advice with respect to the Debtor’s powers and
                                 duties as Debtor-in-possession in the continued operation of its
                                 business and management of its properties;

                        (b)      attending meetings and negotiating with representatives of
                                 creditors and other parties in interest and advising and consulting
                                 on the conduct of the chapter 11 case, including the legal and
                                 administrative requirements of operating in chapter 11;

                        (c)      taking necessary action to protect and preserve the Debtor’s estate,
                                 including the prosecution of actions commenced under the
                                 Bankruptcy Code on their behalf, and objections to claims filed
                                 against the estate;

                        (d)      preparing and prosecuting on behalf of the Debtor’s motions,
                                 applications, answers, orders, reports and papers necessary to the
                                 administration of the estate;

                        (e)      advising and assisting the Debtor with respect to restructuring
                                 alternatives, including preparing and pursuing confirmation of a
                                 chapter 11 plan, including preparing and seeking approval of a
                                 disclosure statement;

                        (f)      appearing in Court and protecting the interests of the Debtor before
                                 the Court; and

                        (g)      performing all other legal services for the Debtor which may be
                                 necessary and proper in these cases.
Case 21-40834-drd11          Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                           Desc Main
                                   Document    Page 22 of 42



                                  Compensation and Fee Applications

               8.       Pursuant to the terms of the Engagement Letter, and subject to the Court’s

approval of the Application, Armstrong Teasdale intends to: (a) charge for its legal services on an

hourly basis in accordance with the ordinary and customary hourly rates in effect on the date

services are rendered except as noted above; and (b) seek reimbursement of actual and necessary

out-of-pocket expenses.3

               9.       Armstrong Teasdale will be compensated at its standard hourly rates, which

are based on the professionals’ level of experience. At present, the standard hourly rates charged

by Armstrong Teasdale, for the bankruptcy practice, range as follows:

                               Billing Category                  U.S. RANGE

                                    Partners                     $335 - $660

                                  Of Counsel                     $300 - $575

                                   Associates                    $225 - $405

                                   Paralegals                    $110 - $305

                                  Law Clerks                     $200 - $235


               10.      The names, positions, resident offices and current hourly rates of those

Armstrong Teasdale lawyers currently expected to spend significant time on this chapter 11 case

are attached as Schedule 3 hereto. Armstrong Teasdale’s hourly fees are comparable to those

charged by attorneys of similar experience and expertise for engagements of scope and

complexity similar to this chapter 11 case. Further, I believe that Armstrong Teasdale bankruptcy

 3
        The hourly rates charged by Armstrong Teasdale professionals differ based on, among other things, the
        professional's level of experience and the rates normally charged in the specific office in which the
        professional is resident. Armstrong Teasdale does not adjust the billing rates of its professionals based on
        the geographic location of a bankruptcy case or other matter.
Case 21-40834-drd11          Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                             Desc Main
                                   Document    Page 23 of 42



professionals are subject to the same client-driven market forces, scrutiny and accountability as its

professionals in non-bankruptcy engagements. For all of these reasons, Armstrong Teasdale’s

rates are reasonable and favorable to the Debtor’s estate.4

                11.      Armstrong Teasdale will maintain detailed, contemporaneous time records

in six-minute intervals and apply to the Court for payment of compensation and reimbursement of

expenses in accordance with applicable provisions of the Bankruptcy Code, the Bankruptcy

Rules, the Local Bankruptcy Rules and any additional procedures that may be established by the

Court in this chapter 11 case.5 In addition, Armstrong Teasdale understands that interim and final

fee awards are subject to approval by this Court.

                               Disclosure Concerning Disinterestedness

                12.      The Debtor has provided Armstrong Teasdale with a list of the names

(collectively, the “Interested Parties”) of individuals or institutions in the following categories:

(a) Current and Recent Former Entities Affiliated with the Debtor; (b) the Debtor’s Insurers; (c)

Counterparties to Significant Leases; (d) Counterparties to Significant Executory Contracts; (e)

Counterparties to Current and Potential Litigation; (f) Utilities of the Debtor; (g) Taxing

Authorities; (h) Bankruptcy Judges for the Western District of Missouri; (i) Attorneys for the U.S.

Trustee; (j) Significant Vendors of the Debtor; (k) Top 20 Creditors of the Debtor; and (l) Other

Vendors of the Debtor. The identities of the Interested Parties are set forth on Schedule 1 hereto.

                13.      To check and clear potential conflicts of interest in these cases, as well as

to determine all “connections” (as such term is used in Bankruptcy Rule 2014) to the Debtor, its

 4
        Like many of its peer law firms, Armstrong Teasdale increases the hourly billing rate of attorneys and
        paraprofessionals periodically in the form of step increases in the ordinary course on the basis of advancing
        seniority and promotion. The step increases do not constitute “rate increases” (as the term is used in the
        United States Trustee Guidelines).
 5
        In applying to the Court for payment of compensation and reimbursement of expenses, Armstrong Teasdale
        will also make reasonable efforts to comply with the United States Trustee Guidelines.
Case 21-40834-drd11         Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                  Desc Main
                                  Document    Page 24 of 42



creditors, other parties in interest, its respective attorneys and accountants, the United States

Trustee or any person employed in the office of the United States Trustee, Armstrong Teasdale

researched its client database for the past two years to determine whether it had any relationships

with the Interested Parties. Armstrong Teasdale began running conflict checks on the parties in

interest last month and continue to run conflict checks thereafter as new parties in interest are

identified.   To the extent that Armstrong Teasdale’s research of its relationships with the

Interested Parties indicates that Armstrong Teasdale has represented in the past two years, or

currently represents, any of these entities in matters unrelated to this chapter 11 case, the identities

of these entities and such entities’ relationship to the Debtor and connection to Armstrong

Teasdale are set forth in Schedule 2 hereto.

                 14.   To the best of my knowledge and belief, insofar as I have been able to

ascertain after reasonable inquiry, neither I, nor Armstrong Teasdale nor any partner, associate or

other professional thereof has any connection with the Debtor, their creditors, the United States

Trustee or any other party with an actual or potential interest in this chapter 11 case or their

respective attorneys or accountants, except as set forth below and in Schedule 2 hereto.

                 15.   Armstrong Teasdale has not, does not and will not represent any entity

other than the Debtor in this chapter 11 case.

                 16.   Prior to the Petition Date, Armstrong Teasdale performed certain legal

services for the Debtor related to the filing, as described herein and in the Application. After the

completion of any necessary adjustments to the amount and application of the Retainer proceeds,

the Debtor will not owe Armstrong Teasdale any amount for services performed prior to the

Petition Date.
Case 21-40834-drd11         Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32               Desc Main
                                  Document    Page 25 of 42



                           Armstrong Teasdale Is a Disinterested Person

               17.       To the best of my knowledge, information and belief, insofar as I have been

able to ascertain after reasonable inquiry, Armstrong Teasdale is a “disinterested person,” as

defined in section 101(14) of the Bankruptcy Code and as required by section 327(a) of the

Bankruptcy Code, in that:       (a) Armstrong Teasdale has no connection with the Debtor, its

creditors, the United States Trustee, any person employed in the office of the United States

Trustee or any other party with an actual or potential interest in this chapter 11 case or their

respective attorneys or accountants, except as set forth herein; (b) Armstrong Teasdale is not a

creditor, or insider of the Debtor; and (c) Armstrong Teasdale neither holds nor represents an

interest materially adverse to the Debtor or its estate. In or about 2011, Armstrong Teasdale was

retained by Citizens Bank & Trust Company to draft certain loan documents related to a

transaction with Park Reserve LLC. In relation to that transaction, Armstrong Teasdale was

asked to draft a reaffirmation of a guaranty granted by the Debtor to Citizens. Such

representation of Citizens Bank & Trust Company ended shortly upon completion of the

transaction and the client and matter were closed in Armstrong Teasdale’s systems in 2013. (The

attorney who worked on the matter left the firm around the same time.) No further legal work

was requested by, nor provided to, Citizens Bank & Trust Company since that time. As set forth

in the Application, to the extent any issue may arise in this case that is adverse to Citizens Bank &

Trust Company, such issue shall not be handled by Armstrong Teasdale but by separate special

counsel to the Debtor.

               18.       In the event that Armstrong Teasdale’s representation of the Debtor in

connection with any matter in this chapter 11 case would result in it becoming adverse to a party

in interest that gives rise to a professional conflict, the Debtor shall retain separate counsel to

represent their interests with respect to such matter against such party.
Case 21-40834-drd11       Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32               Desc Main
                                Document    Page 26 of 42



                     Statement Regarding United States Trustee Guidelines

               19.    Armstrong Teasdale intends to apply for compensation for professional

services rendered and reimbursement of expenses incurred in connection with this chapter 11 case

in compliance with applicable provisions of the Bankruptcy Code, Bankruptcy Rules, Local

Bankruptcy Rules, and any other applicable procedures and orders of the Court. As it has done in

connection with the Application, Armstrong Teasdale also intends to make a reasonable effort to

comply with the United States Trustee’s requests for information and additional disclosures as set

forth in the United States Trustee Guidelines in connection with the interim and final fee

applications to be filed by Armstrong Teasdale in this chapter 11 case.

               20.    The following information is provided in response to the request for

additional information set forth in Paragraph D.1 of the United States Trustee Guidelines:

                        Question:                  Did you agree to any variations from, or
                                                   alternatives to, your standard or customary
                                                   billing arrangements for this engagement?

                        Response:                  No. The hourly rates Armstrong Teasdale will
                                                   bill for this engagement are consistent with or
                                                   less than the rates that Armstrong Teasdale
                                                   charges other comparable chapter 11 clients,
                                                   and the rate structure provided by Armstrong
                                                   Teasdale is appropriate and is not significantly
                                                   different from (a) the rates that Armstrong
                                                   Teasdale charges in other non-bankruptcy
                                                   representations or (b) the rates of other
                                                   comparably skilled professionals for similar
                                                   engagements.

                        Question:                  Do any of the professionals included in this
                                                   engagement vary their rate based on the
                                                   geographic location of the bankruptcy case?

                        Response:                  No.

                        Question:                  If you represented the client in the 12 months
                                                   prepetition, disclose your billing rates and
                                                   material financial terms for the prepetition
Case 21-40834-drd11        Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                        Desc Main
                                 Document    Page 27 of 42



                                                       engagement, including any adjustments during
                                                       the 12 months prepetition. If your billing rates
                                                       and material financial terms have changed
                                                       post-petition, explain the difference and the
                                                       reasons for the difference.

                         Response:                     Armstrong Teasdale’s current hourly rates for
                                                       services rendered on behalf of the Debtor
                                                       ranges as follows6:



                                                                Billing               U.S. RANGE
                                                               Category
                                                                Partners              $335 - $660

                                                              Of Counsel              $300 - $575

                                                               Associates             $225 - $405

                                                               Paralegals             $110 - $305

                                                              Law Clerks              $200 - $235


                                                       Armstrong Teasdale represented the Debtor
                                                       during the twelve-month period before the
                                                       Petition Date, using the hourly rates listed
                                                       above.


                         Question:
                                                       Has your client approved your prospective
                                                       budget and staffing plan, and, if so, for what
                                                       budget period?

                         Response:                     A budget has been discussed and approved
                                                       among counsel and the client.




 6
       While the rate ranges provided for in this Application may change if an individual leaves or joins
       Armstrong Teasdale, and if any such individual’s billing rate falls outside the ranges disclosed above,
       Armstrong Teasdale does not intend to update the ranges for such circumstances.
Case 21-40834-drd11       Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32                Desc Main
                                Document    Page 28 of 42




 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and
 correct.

                                                   Respectfully submitted,

  Dated: August 5, 2021
         St. Louis, Missouri

                                                   /s/   Richard W. Engel, Jr.
                                                   Richard W. Engel, Jr., MO 34641
                                                   Armstrong Teasdale LLP
                                                   7700 Forsyth Boulevard, Suite 1800
                                                   St. Louis, MO 63105
                                                   Telephone: (314) 621-5070
                                                   Facsimile: (314) 612-2242
                                                   Email: rengel@atllp.com
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32        Desc Main
                            Document    Page 29 of 42



                                       Schedule 1

                                  Interested Parties

 CURRENT AND RECENT FORMER                   Presto X Company
 ENTITIES AFFILIATED WITH THE                Reeder, Leslie Renee
 DEBTOR                                      Reeder, Sammy Jo
                                             Republic Services
  Aflac                                      Robinson, Stacy Reeder
  Airgas                                     Shoppa Mid America
  Anderson, Floyd                            Speer, Dennis Andrew
  Anderson, Sharon                           State Farm
  Avid Communications                        Sutherlands
  Bachkora & Associates                      The View 2001 LLC-penthouse 2001 at View
  Bachkora, Kevin                            condos
  Baker Sterchi Cowden & Rice                Triad Capital Advisors
  Cass County Tax Collector                  Triad Capital Advisors
  Central Bank of the Midwest                Wilcox, Greg
  CIT Inc.                                   Woodmen of the World
  Citizens Bank & Trust Company              Yardi Systems Inc.
  Clean Solutions Inc.
  Custom Refrigeration Solutions
  Delta Dental                              DEBTOR’S PROFESSIONALS
  Delta Vision                              ARMSTRONG TEASDALE LLP
  E3 HR Inc.
  Employee Fiduciary LLC                    LARGEST CREDITORS OF THE
                                            DEBTOR
  Evergy
  Fedex
                                            Citizens Bank &Trust Company
  First Land Investments LLC                Cyrus Contractor
  Ford Motor Credit                         Angelica Svendsen
  Grainger                                  IPFS
  Heubel, Raymond                           Philip A. Klawuhn & Associates
  Humana                                    Eugene Trope
  Image Quest                               Evergy
  Johnson Controls                          Republic Services
  KCMO Water                                Baker Sterchl Cowden Rice
  KD Fastener                               Pioneer Village
  Klawuhn, Philip A.                        CBD, Inc.
                                            Lion’s Plumbing
  My Dumpster Guy
                                            McDowell Rice Smith Buchanan
  Park Reserve LLC/The View 2001 LLC        Service Master
  Pitney Bowes                              Republic Services
  Plotner, Amanda                           Custom Refrigeration Solutions
  Praxair                                   Sutherlands
Case 21-40834-drd11     Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                              Document    Page 30 of 42



 Marks Nelson CPA
 Richard Turner
 Henrik Svendsen
 Floyd Anderson


 INSURERS OF THE DEBTOR

 IPFS Corporation
 Bukaty Companies

 COUNTERPARTS TO SIGNIFICANT
 EXECUTORY CONTRACTS

 COUNTERPARTIES TO CURRENT AND
 POTENTIAL LITIGATION

 UTILITIES OF THE DEBTOR

 Evergy
 K C Water
 Avid
 Sprint
 Hook N Haul

 TAXING AUTHORITIES

 UNITED STATES BANKRUPTCY
 JUDGES FOR THE WESTERN DISTRICT
 OF MISSOURI

 Chief Judge Brian T. Fenimore
 Judge Dennis R. Dow
 Judge Cynthia A. Norton
Case 21-40834-drd11        Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32     Desc Main
                                 Document    Page 31 of 42



                                        Schedule 2

   Interested Parties that Currently or have Previously Employed Armstrong Teasdale in
                Matters Unrelated to the Debtor or Their Chapter 11 Cases

 Current and Recent Former Directors and Officers of the Debtor
 N/A

 Debtor’s Professionals
 N/A

 Largest Creditors of the Debtor
 Citizens Bank & Trust Company

 Insurance Companies
 State Farm Insurance
 Hartford

 Utilities of the Debtor
 Evergy

 Indenture Trustee
 N/A

 Other Vendors of the Debtor
 Tire Centers, Inc.
 Sherwin Williams Company
 David Miller
 GRP
 Amerigas
 Crown Packaging
Case 21-40834-drd11    Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32          Desc Main
                             Document    Page 32 of 42



                                        Schedule 3

             Nonexclusive List of Certain Armstrong Teasdale Professionals
                  and Their Current Hourly Rates As of June 1, 2021

                                                                  BILLING RATE AS OF
          NAME               LOCATION                POSITION
                                                                  THE PETITION DATE

       Richard Engel          St. Louis               Partner            $590

       Erin Edelman           St. Louis               Partner            $400

      Pamela Putnam          Kansas City             Of Counsel          $315

       Maxwell Feit            Boston                Associate           $325

        Brandi Vogt           St. Louis              Paralegal           $215
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 33 of 42



                                    Exhibit C

                 Disclosure of Compensation of Armstrong Teasdale
Case 21-40834-drd11         Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32            Desc Main
                                  Document    Page 34 of 42



                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

 In re:                                            )   Case No. 21-40834-DRD
                                                   )   Chapter 11
 INTERSTATE UNDERGROUND                            )
 WAREHOUSE and INDUSTRIAL PARK,                    )
 INC.                                              )
                 Debtor.                           )
                                                   )
                                                   )
                                                   )

                    DISCLOSURE OF COMPENSATION OF ATTORNEYS

          I, Richard W. Engel, Jr., hereby certify as follows:

          1.     On March 24, 2021, Armstrong Teasdale LLP (“Armstrong Teasdale”) received

 $150,000.00 for services rendered on behalf of the Debtor and in contemplation or connection

 with this chapter 11 case (those funds, in addition to the remainder of the retainer provided for

 the restructuring efforts, referenced in the Amended Application to Retain and Employ

 Armstrong Teasdale, filed contemporaneously herewith, comprised the entirety of such funds).

          2.     There is no agreement of any nature as to the sharing of any compensation to be

 paid to Armstrong Teasdale, other than sharing among the attorneys of Armstrong Teasdale.


  Dated: August 5, 2021                       /s/   Richard W. Engel, Jr.
         St. Louis, Missouri                  Richard W. Engel, Jr., MO 34641
                                              Armstrong Teasdale LLP
                                              7700 Forsyth Boulevard, Suite 1800
                                              St. Louis, MO 63105
                                              Telephone: (314) 621-5070
                                              Facsimile: (314) 612-2242
                                              Email: rengel@atllp.com
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 35 of 42



                                    Exhibit D

                                Engagement Letter
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 36 of 42
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 37 of 42
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 38 of 42
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 39 of 42
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 40 of 42
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 41 of 42
Case 21-40834-drd11   Doc 80 Filed 08/05/21 Entered 08/05/21 14:49:32   Desc Main
                            Document    Page 42 of 42
